                                   Case 17-15190-RBR                      Doc 1     Filed 04/26/17            Page 1 of 13

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:
                                                                                  Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12

                                                                                  Chapter 13                                       Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Jose
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Terzado
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7977
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Jose Terzado                                                                               Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 4918 SW 195 Ter
                                 Miramar, FL 33029
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Broward
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Jose Terzado                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    Jose Terzado                                                                                   Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Jose Terzado                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Jose Terzado                                                                                  Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Jose Terzado
                                 Jose Terzado                                                      Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 26, 2017                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Jose Terzado                                                                                   Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Christian J. Olson                                             Date         April 26, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Christian J. Olson
                                Printed name

                                Nowack & Olson, PLLC
                                Firm name

                                8551 Sunrise Blvd.
                                Suite 208
                                Plantation, FL 33322
                                Number, Street, City, State & ZIP Code

                                Contact phone     (954)349-2265                              Email address         ecf@nowackolson.com
                                121436
                                Bar number & State




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            Amex
            Po Box 297871
            Fort Lauderdale, FL 33329


            Ars Account Resolution
            1643 Harrison Pkwy Ste 1
            Sunrise, FL 33323


            Athens Paper Company
            Lee B. Gartner, P.A
            1440 Coral Ridge Drive, Suite 221
            Coral Springs, FL 33071


            Bank of America NA
            Phelan Hallinan Diamond and Jones, PLLC
            2727 W Cypress Creek Rd
            Fort Lauderdale, FL 33309


            BankUnited, NA
            c/o Behar, Gutt & Glazer, P.A.
            2999 NE 191 Street, Fifth Floor
            Miami, FL 33180


            Baptist Hospital
            POB 830880
            Miami, FL 33283


            Bayview Loan Servicing, LLC
            c/o McCalla Raymer, LLC
            225 E. Robinson Street #155
            Orlando, FL 32801


            Best Buy Credit Services
            POB 183195
            Columbus, OH 43218


            Bmw Financial Services
            5515 Parkcenter Cir
            Dublin, OH 43017


            Broward County Revenue Collector
            115 S. Andrews Avenue
            Fort Lauderdale, FL 33301
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        Capital One
        15000 Capital One Dr
        Richmond, VA 23238


        Chase Card
        Po Box 15298
        Wilmington, DE 19850


        Chase Card
        P.o. Box 15298
        Wilmington, DE 19850


        Child Support Enforcement
        POB 02-9029
        Fort Lauderdale, FL 33302


        Enhanced Recovery Co L
        8014 Bayberry Rd
        Jacksonville, FL 32256


        ERC
        POB 23870
        Jacksonville, FL 32241


        Essendant Corporation
        One Park Way North Blvd
        Deerfield, IL 60015


        Exxmblciti
        Po Box 6497
        Sioux Falls, SD 57117


        EZ Pay Buildings LLC
        2148-E Eagle Pass
        Wooster, OH 44691


        First Fed Credit & Col
        5821 Hollywood Blvd
        Hollywood, FL 33021


        Firstsource Advantage, LLC.
        POB 025437
        Miami, FL 33102
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        Florida Department of Revenue
        Coral Springs Service Center
        3111 N. University Drive
        Suite 501
        Coral Springs, FL 33065


        Funding Metrics LLC
        Allison L Friedman, ESQ
        20533 Biscayne Blvd #4-435
        Miami, FL 33180


        GC Services Limited Partnership
        PO BOX 5220 (023)
        San Antonio, TX 78201


        Gulf Group Holdings
        Acquisition & Applications Inc
        18305 Biscayne Blvd #400
        North Miami Beach, FL 33160


        Independent Stationers, Inc
        c/o Barnes & Thornburg LLP
        11 S Meridian St
        Indianapolis, IN 46204


        Inphynet South Broward, Inc
        POB 740022
        Cincinnati, OH 45274


        Internal Revenue Service*
        POB 7346
        Philadelphia, PA 19101-7346


        JP Morgan Chase Bank
        c/o Shutts & Bowen LLP
        200 E Broward Blvd Suite 2100
        Fort Lauderdale, FL 33301


        Knight Capital Funding
        9 E Loockerman St
        Ste 3A-543
        Dover, DE 19901


        Lendini
        884 Town Center Dr
        Langhorne, PA 19047
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        Linkmax Papers
        2904 South Sheridan Way, Suite 303
        Oakville, Ontario
        Canada L6J 7L7


        Magtec Corporation
        Markowitz Ringel Trusty & Hartog
        9130 S Dadeland Blvd
        Two Datran Center #1800
        Miami, FL 33156


        Mb Fin Svcs
        36455 Corporate Dr
        Farmington Hills, MI 48331


        Memorial Healthcare System
        POB 538522
        Atlanta, GA 30353


        Memorial Regional Hospital
        c/o Mary E Hammel
        Hospital Lien Strategies
        1040 Bayview Dr #516
        Fort Lauderdale, FL 33304


        Mercantil Bank Na
        12496 Nw 25 Street
        Miami, FL 33182


        Mikon Financial Services, Inc
        Ocean Bank
        780 NW 42 Ave #300
        Miami, FL 33126


        Miramar EKG Readers Inc
        POB 919008
        Orlando, FL 32891


        Nationstar Mtg LLC
        McCalla Raymer Leibert Pierce, LLC
        225 E. Robinson Street,
        Suite 155
        Orlando, FL 32801
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        Nissan Motor Acceptanc
        Po Box 660360
        Dallas, TX 75266


        Nissan-infiniti Lt
        2901 Kinwest Pkwy
        Irving, TX 75063


        Pathology Associates of South Miami
        POB 198523
        Atlanta, GA 30384


        Perez Trading Company, Inc
        d/b/a Coral Paper
        3490 NW 125 St
        Miami, FL 33167


        Portfolio Recovery Ass
        120 Corporate Blvd Ste 1
        Norfolk, VA 23502


        Prsm/cbna
        Po Box 6497
        Sioux Falls, SD 57117


        Radiology Associates of Hollywood
        9050 Pines Blvd
        Suite 200
        Hollywood, FL 33024


        Rawlings Financial Services, LLC
        POB 2020
        La Grange, KY 40031


        Seacoast National Bank
        c/o Marc B Cohen, ESQ
        525 Okeechobee Blvd #900
        West Palm Beach, FL 33401


        Skopos Financial Llc
        500 E John Carpenter Fwy
        Irving, TX 75062
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        Sunset Lakes Master Association
        c/o Broug, Chadrow & Levine, PA
        1900 N Commerce Parkway
        Fort Lauderdale, FL 33326


        Sunset Lakes Master Association, Inc
        18600 Sunrise Ave
        Miramar, FL 33029


        Sunset Lakes Master Association, Inc.
        c/o Banco Popular
        POB 169010
        Miami, FL 33116


        Syncb/jcp
        Po Box 965007
        Orlando, FL 32896


        Syncb/walmart
        Po Box 965024
        El Paso, TX 79998


        UMB Bank as Cust. for Farrell-Roeh Liens
        POB 17901
        Denver, CO 80217


        Vw Credit Inc
        1401 Franklin Blvd
        Libertyville, IL 60048


        Wfdillards
        Po Box 14517
        Des Moines, IA 50306
